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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RICHARD A. GORMAN                       :
                                        :               CIVIL ACTION
                                        :
                                        :
            v.                          :
                                        :
                                        :
ILYA SHPETRIK                           :               NO.: 20-cv-04759

                                    ORDER

            AND NOW, this 14TH       day of SEPTEMBER 2021, in accordance with

the court’s procedure for random reassignment of cases, it is hereby,

            ORDERED that the above-captioned case is reassigned from the

calendar of the Honorable J. Curtis Joyner, to the calendar of the Honorable

Cynthia M. Rufe.


                                            FOR THE COURT:


                                            JUAN R. SÁNCHEZ
                                            Chief Judge

                                            ATTEST:


                                            ________________________
                                            KATE BARKMAN
                                            Clerk of Court
